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                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )       NO. 3:11-cr-00012-22
       v.                                            )
                                                     )       JUDGE SHARP
ALTO PARNELL                                         )


                UNITED STATES’ REQUEST FOR EXTENSION OF TIME

       Comes now the United States and requests the due date for its response to defendant Alto

Parnell’s motion for judgment of acquittal or new trial (DE 1935) be extended.

       As grounds, the undersigned submits that he is on use or lose leave, but is permitted to

work on particular cases or investigations which are urgent. This matter has previously been

continued at the request of the defense, and the undersigned had previously coordinated with the

defense that the defense would not oppose a motion for extensions of time since the government’s

response was likely to be due during leave periods if the defense motions for extensions were

granted. Defense counsel previously represented that there would be no objection to government

extension requests, and has again verified that the defense has no objection to the instant motion.

       Therefore, the United States requests that its response be due towards the end of January

2014 since the undersigned is scheduled to be on leave until mid-January. However, if the Court

needs a quicker response to manage its docket, the undersigned is able to work on this matter in the

interim with supervisory approval, but would request an extension until about the end of

December, 2013.




Case 3:11-cr-00012       Document 1962         Filed 12/20/13      Page 1 of 1 PageID #: 10510
